Case 8:16-cr-00177-MSS-TGW Document 153 Filed 02/24/17 Page 1 of 5 PageID 437
Case 8:16-cr-00177-MSS-TGW Document 153 Filed 02/24/17 Page 2 of 5 PageID 438
Case 8:16-cr-00177-MSS-TGW Document 153 Filed 02/24/17 Page 3 of 5 PageID 439
Case 8:16-cr-00177-MSS-TGW Document 153 Filed 02/24/17 Page 4 of 5 PageID 440
Case 8:16-cr-00177-MSS-TGW Document 153 Filed 02/24/17 Page 5 of 5 PageID 441
